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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity                  Case No. 25-cv-381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                         Defendants.


                               DECLARATION OF TED STEEGE

I, Martin Theodore (“Ted”) Steege, declare as follows:

        1.      I am the surviving husband of Pastor Eva Steege, who passed away on Saturday,

March 15, 2025, following a prolonged battle with chronic obstructive pulmonary disease (COPD).

Eva’s funeral took place yesterday. Her passing has left me with immense grief, compounded by

the difficult financial tribulations she faced in the final stages of her life.

        2.      I am the person responsible for dealing with our family’s financial affairs in the

wake of Eva’s death. I now face the urgent task of ensuring that our family receives what is

rightfully owed to us. This includes addressing the unresolved issues surrounding Eva’s federal

student loan debt and the benefits for which she was eligible under federal law, and that she was

desperately trying to resolve before her death.

        3.      Despite the efforts of Eva and the initial support that she received from the

Consumer Financial Protection Bureau (CFPB) in untangling the status of her student loan debt,

her application for relief under the Public Service Loan Forgiveness program was never fully

processed, leaving significant portions of the debt unresolved, and a potential $15,000 refund in




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      limbo. Moreover, I now find myself in the painful position of having to advocate for the relief that

      my late wife was entitled to during an extremely challenging time for our family.

                    4.                Until the CFPB was abruptly shut down during the week of February 10, 2025, our

      family was relying on the CFPB’s Student Loan Ombudsman, Julia Barnard, and her staff to

      disentangle the financial and administrative complexity in our case. In fact, they were the only

      ones able to determine what was at issue with the loans, to translate information from the

      Department of Education into actionable options for us to consider, and to provide timely, human

      assistance on this issue. The agency’s intervention was vital for Eva, and ultimately the only place

      she was able to get meaningful answers. It remains crucial to doing whatever we can to make sure

      that our family receives the financial relief she was due.

                    5.                Although Eva did not have a written will, I am the de facto executor of my wife’s

      estate. Because she died so recently, and because I have been busy making funeral arrangements,

      getting our affairs in order, and receiving friends and family, I have not yet had time to carry out

      the legal formalities to open a formal estate for Eva in the state of our domicile, Maryland.

                    6.                I respectfully ask that the Court allow me to take Eva’s place in this lawsuit and to

      join in the pending request for an injunction to bar the defendants from shutting down the CFPB.

      The burden of navigating this complex web of debt relief, loan forgiveness, and administrative

      hurdles should not fall on me alone, especially during a time of profound loss and grief. Congress

      decided there should be a functioning CFPB with a dedicated Student Loan Ombudsman, and this

      assistance is exactly what my family needs right now.

                    I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

      and correct.
                                                                            Martin Theodore Steege
      Executed on March 25, 2025                                            _______________
                                                                            Martin Theodore Steege

Signature:    Ted Steege
             Ted Steege (Mar 25, 2025 17:07 EDT)

   Email: mtedsteege@gmail.com                                         2
